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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                              CASE NO. 01-80583
        Plaintiff,                                            HON. LAWRENCE P. ZATKOFF

v.

VANESSA PHILLIPS

      Defendant.
____________________________________/


                           OPINION SENTENCING DEFENDANT

               AT A SESSION of said Court, held in the United States Courthouse,
                in the City of Port Huron, State of Michigan, on August 17, 2006

                     PRESENT: THE HONORABLE LAWRENCE P. ZATKOFF
                             UNITED STATES DISTRICT JUDGE

                                       I. INTRODUCTION

        Defendant previously pled guilty in this Court to violations of 18 U.S.C. § 371 (conspiracy),

18 U.S.C. § 1344 (bank fraud), and 18 U.S.C. § 922 (felon in possession of a firearm). Defendant

was sentenced to twenty months imprisonment, with a three year period of supervised release. This

matter is now before the Court on Defendant’s guilty plea to a supervised release violation. For the

reasons set forth below, Defendant is sentenced to thirty (30) months imprisonment, to be served

consecutively to her state sentence.

                                          II. ANALYSIS

        When sentencing a defendant, the Court must consider the relevant factors from 18 U.S.C.

§ 3553, and articulate the reasons for its sentencing decision. United States v. McBride, 434 F.3d

470, 476 (6th Cir. 2006). The Court will now analyze the relevant factors as they relate to
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Defendant.

1.      The Nature and Circumstances of the Offense

        On January 13, 2006, Defendant pled guilty to the state felony charge of Delivery of a Credit

Card. Defendant obtained the social security number of a victim in order to fraudulently gain access

to the victim’s Marshall Field’s credit card account. This is the same type of conduct as the

underlying offense for which Defendant was originally sentenced in this Court. The Sixth Circuit

has held that a supervised release violation that constitutes the same type of conduct as the

underlying offense can justify imposing an above-guideline sentence. See United States v. Kirby,

418 F.3d 621 (6th Cir. 2005).

2.      The History and Characteristics of the Defendant

        In 1994 Defendant pled guilty to a crime involving credit card fraud and identity theft.

Defendant was sentenced to 36 months probation, and 270 days home confinement. In 1999

Defendant again pled guilty to a crime involving credit card fraud, and received two years probation.

In the underlying case, Defendant received a sentence reduction from 36 months to 20 months.

Defendant has been given several “second chances” by the courts, and has continually abused the

trust the courts have placed in her.

3.      The Seriousness of the Offense

        Credit card fraud and identity theft are extremely serious crimes. In 2004, nearly 250,000

people had their identities stolen. Sean Kelly, Drug Users Bank on You, DENVER POST, May 30,

2005. Identity theft is a nightmare for the victim; it takes the average victim six months and $6,000

to clear up their credit history. Id. However, the time and cost involved can be far greater. In 2005,

the total cost of identity theft was 56.6 billion. Steve Alexander, Companies Paying More Attention


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to Data Security, FORT WORTH STAR-TELGRAM, July 9, 2006.

4.      Promote Respect for the Law

        On two previous occasions Defendant was shown leniency by the courts, yet continues to

break the law by engaging in substantially similar criminal conduct. The Court notes that in

Defendant’s first offense in the early 90s, Defendant obtained twelve credit cards and caused a loss

of $20,200. In the instant underlying offense, Defendant was a ringleader in an identify theft case

with fourteen co-defendants, and was held accountable for a loss amount of $363,987.27. The

previous leniency Defendant has received from the courts appears not to have created respect for

the law, but rather emboldened Defendant to engage in more serious criminal enterprises.

5.      Afford Adequate Deterrence to Criminal Conduct

        Defendant’s previous sentences obviously were insufficient to afford adequate deterrence.

An above-guideline sentence is necessary in this case to impress upon Defendant that her criminal

conduct will not be tolerated by society.

6.      Protect the Public From Further Crimes of the Defendant

        As discussed above, identity theft and credit card fraud impose enormous costs on society,

and Defendant has repeatedly engaged in this conduct. An above-guideline sentence is necessary

to protect the public from further crimes of Defendant.

7.      Guideline Range

        The guideline range for the instant offense is six to twelve months. However, for the reasons

stated above and below, the Court finds an above-guideline sentence is necessary in this case.

8.      Policy Statements Issued by the Sentencing Commission

        Application note four of sentencing guideline 7B1.4 states that: “Where the original sentence


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was the result of a downward departure (e.g., as a reward for substantial assistance), or a charge

reduction that resulted in a sentence below the guideline range applicable to the defendant's

underlying conduct, an upward departure may be warranted.” The guideline range for Defendant’s

underlying offense was 30-37 months. Defendant’s sentence was reduced to 20 months because of

substantial assistance. The facts of this case warrant an upward departure.

9.      Need to Avoid Unwarranted Sentence Disparities Among Defendants with Similar
        Records Who Have Been Found Guilty of Similar Conduct

        A codefendant in the underlying case, Walter Nelson, was originally sentenced to 87 months.

The sentence was recently amended to 66 months. In his re-sentencing memorandum, Mr. Nelson

noted that he had been introduced to the conspiracy by Defendant, and argued that Defendant’s role

in the conspiracy was more significant than his. Defendant, however, received a far more lenient

sentence, 20 months, due in part to her assistance with the Government. However, by again

engaging in the same pattern of behavior, Defendant has abused the trust the Government and this

Court placed in her.




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                                      III. CONCLUSION

       For all the above reasons, the Court finds that an above-guideline sentence is necessary in

this case. The Court sentences Defendant to thirty (30) months imprisonment, to be served

consecutively to Defendant’s state sentence.


       IT IS SO ORDERED.



                                               s/Lawrence P. Zatkoff
                                               LAWRENCE P. ZATKOFF
                                               UNITED STATES DISTRICT JUDGE

Dated: August 17, 2006

                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of
record by electronic or U.S. mail on August 17, 2006.


                                               s/Marie E. Verlinde
                                               Case Manager
                                               (810) 984-3290




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